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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA                             UNDER SEAL

                             v.                       CRIMINAL NO. 14-CR-0186-LO

 RICHARD BYRD,

           Defendant.


                                         MOTION TO SEAL


       The United States of America, by and through its undersigned attorneys, hereby submits

this motion to seal its Memorandum in Support of Government’s Motion Pursuant to Rule 35(b)

of the Federal Rules of Criminal Procedure. The reasons for sealing are contained within the

memorandum itself.


              WHEREFORE the Government requests that the Court enter an Order sealing its

Memorandum in Support of Government’s Motion Pursuant to Rule 35(b) of the Federal Rules

of Criminal Procedure.


                                     Respectfully submitted,

                                     Phillip Selden
                                     Attorney for the United States
                                     Acting Under Authority Conferred by 28 U.S.C. § 515

                                  By: ___________//s//______________
                                      Leo J. Wise
                                      Zachary H. Ray
                                      Assistant United States Attorneys

                                      Derek E. Hines
                                      Special Assistant United States Attorney
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                        CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing was served on counsel of record via CM/ECF.


                                             ____________/s/____________
                                             Leo J. Wise
                                             Assistant United States Attorney




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